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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


DR. LLOYD ALFRED NEWTON,                          §
                                                  §
                     Plaintiff,                   §              5:24-CV-00758-OLG-RBF
                                                  §
vs.                                               §
                                                  §
ERIN S. BECKER,                                   §
                                                  §
                     Defendant.                   §
                                                  §
                                                  §
                                                  §

               ORDER IMPOSING STAY AND ADMINISTRATIVE CLOSURE

          Before the Court is the status of this case, which the District Court referred pursuant to

Western District of Texas Local Rule CV-72 and Appendix C. For the reasons stated on the

record at the September 19, 2024, initial pretrial conference, the Court has determined in its

discretion that this case should be stayed.

          IT IS THEREFORE ORDERED THAT all proceedings in this case are STAYED

pending further order of the Court. Moreover, given the anticipated length of the stay, the Court

concludes that this case is appropriate for administrative closure. See CitiFinancial Corp. v.

Harrison, 453 F.3d 245, 250 (5th Cir. 2006); Mire v. Full Spectrum Lending, Inc., 389 F.3d 163,

167 (5th Cir. 2004) (explaining how courts use this device to remove inactive cases from their

pending dockets and “[t]he effect of an administrative closure is no different from a simple

stay”).

          The Clerk’s office is therefore DIRECTED to administratively close this case pending

further order of the Court. Though administratively closed, this case will still exist on the docket

of this Court and may be reopened upon request by any party or on the Court’s own motion. See
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Mire, 389 F.3d at 167. In addition, the parties may file documents and motions in the case

despite the administrative closure.

       IT IS SO ORDERED.

SIGNED this 24th day of September, 2024.




                                      RICHARD B. FARRER
                                      UNITED STATES MAGISTRATE JUDGE
